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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT TACOMA
 8    UNITED STATES OF AMERICA,
 9                         Plaintiff,                    CASE NO. CR08-5125BHS
10           v.                                          ORDER DENYING
11
                                                         DEFENDANT ROBERT
      HERMINIO BARRAGAN MENDOZA;                         BLANCHARD’S MOTION TO
12
      FERNANDO BARRAGAN ZEPEDA;                          REVIEW AND REVOKE
      JOSE BARRAGAN ZEPEDA;                              ORDER OF DETENTION
13
      ALEJANDRO CALDERON FRANCO;
      VERONICA PARDO MARTINEZ; LUIS
14
      ALVAREZ PONCE; EPIFANIO
      BARRAGAN ESTRADA; AMADOR
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      HEREDIA MENDOZA; ROBERT
      BLANCHARD; ADRIAN PEREZ
16
      GARCIA; SALVADOR PARDO
      MARTINEZ; ULISES BARRAGAN
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      MENDOZA; ROBERTO BARRAGAN
      MENDOZA; TAMMY JEROME;
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      DENNIS STENGEL; FRANCISCO
      MANUEL RUIZ CHAVEZ; OMAR
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      CARDOZO; MARTIN CHACON
      MARTINEZ; SAMANTHA MASON,
20                         Defendants.
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22                                         I. MOTION

23          This matter comes before the Court upon Defendant Robert Blanchard's Motion to

24   Review and Revoke Order of Detention (Dkt. 223). The Court has reviewed the motion

25   and the Government's response and the transcript of proceedings of the detention hearing

26   before Magistrate Judge Karen L. Strombom dated April 8, 2008. The motion is denied

27   for the reasons stated herein.

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 1                                   II. PROCEDURAL HISTORY
 2            Defendant was charged on March 20, 2008, in a First Superseding Indictment
 3   with one count of Conspiracy to Distribute Methamphetamine in violation of 21 U.S.C.
 4   §§ 841(a)(1), 841(b)(1)(A) and 846 (Count 1); and Conspiracy to Engage in Money
 5   Laundering in violation of 18 U.S.C.§ 1956 (Count 3). Defendant was subsequently
 6   charged with an additional Count 8 in the Second Superceding Indictment, but it was not
 7   pending at the time of the detention hearing which was held on April 8, 2008. Judge
 8   Strombom, after hearing testimony and argument of counsel, ordered Defendant detained.
 9                                          III. DISCUSSION
10            Factual findings of a detention order are reviewed by this Court under a clearly
11   erroneous standard. United States v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991).
12   Conclusions based on such factual findings present a mixed question of fact and law that
13   is reviewed by this Court de novo. United States v. Townsend, 897 F.2d 989, 994 (9th Cir.
14   1990).
15            Because each of the charged offenses in this case carry prescribed punishment of
16   more than ten years imprisonment, the law presumes detention of a charged defendant
17   pending trial. The Bail Reform Act provides in pertinent part:
18                   Subject to rebuttal by the person, it shall be presumed that no
              condition or combination of conditions will reasonably assure the
19            appearance of the person as required and the safety of the community if
              the judicial officer finds that there is probable cause to believe that the
20            person committed an offense for which a maximum term of imprisonment
              of ten years or more is prescribed in the Controlled Substances Act (21
21            U.S.C. 801 et seq.) . . . or . . . an offense under section 924(c) . . . of title
              18, United States Code . . . .
22
     18 U.S.C. 3142(e).
23
              The magistrate judge properly applied the presumption for detention in this case
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     and found that although Defendant had presented sufficient evidence to rebut the
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     presumption as to being a flight risk (which was conceded by the Government),
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     Defendant failed to rebut the presumption as to being a danger to the community. This
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     finding was supported by the Government’s proffer that over $500,000 was passed
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     ORDER - 2
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 1   through Defendant's business that was related to alleged drug trafficking activities. The

 2   court found that the allegations show a “significant involvement, alleged involvement,

 3   with regard to the distribution of methamphetamine and allocation of funds that were

 4   received, allegedly received, with regard to this conspiracy to distribute

 5   methamphetamine.” Dkt. 135 at 15.

 6          At the hearing, Defendant offered insufficient information to rebut the statutory

 7   presumption. Moreover, under the de novo standard of review, the Government's

 8   proffered information regarding the magnitude of the alleged illegal drug distribution

 9   conspiracy, Defendant's alleged possession of several weapons at both his business and

10   residence, and the large amount of alleged money laundering warrants the detention of

11   Defendant pending trial in order to reasonably assure the safety of other persons and the

12   community.

13                                          IV. ORDER

14          Therefore, it is hereby

15          ORDERED that Defendant Robert Blanchard’s Motion to Review and Revoke

16   Order of Detention (Dkt. 223) is DENIED.

17          DATED this 6th day of June, 2008.




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                                                       BENJAMIN H. SETTLE
21                                                     United States District Judge
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     ORDER - 3
